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STATE OF MAINE                                                          SUPERIOR COURT
CUMBERLAND, ss.                                                         CIVIL ACTION
                                                                        DOCKET NO. /^            ^.       37L(

ANTHONY J. SINENI, III, ESQ.,                              )
    Plaintiff                                              )

v.                                                         }                        ^Um ^^ nd OF
                                                                                               St

CUMBERLAND COUNTY SHERIFF'S OFFICE )                                                        27 2p^s

    Defendant
                                                                                         ^f ^®

                                       COMPLAINT
           NOW COMES, Plaintiff, Anthony J. Sineni, III, and complains against Defendant, as

follows:


                                            INTRODUCTION


            On or about September 27, 2016, Plaintiff was under arrest and held illegally based upon

 an arrest warrant that was obtained by intentionally and recklessly including and omitting

 material facts known to the law enforcement officers who obtained the arrest warrant. Detective

 John Fournier of the Cumberland County Sheriff's Department in conjunction with other

     Sheriffs department personnel obtained an arrest warrant by providing false and misleading

     information while also intentionally and recklessly omitting essential information known to law

     enforcement. Once Plaintiff was arrested he was transported to Cumberland County Jail. After

     Plaintiff was booked a bail conun.issioner arrived at the Jail, Plaintiff's bail was predetermined

     by the Court, an d a third party was there with the required amount of money Plaintiff's bail was

     set at Detective Jill Potvin of the Cumberland County Sheri ffs Depart ment was on the phone,

     with the front desk personnel, and ordered that the Bail Commissioner be turned away and not



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allowed Plaintiffs bail to be accepted by the Commissioner at that time. Detective Potvin had

the Commissioner turned away because Detective Potvin wanted to continue asking Plaintiff

where one of his children was located. Due to Detective Potvin's actions the Commissioner was

not allowed to screen Plaintiff, and Plaintiff was held in Cumberland County Jail for an extra six

to eight hours, waiting on the bail commissioner to return to screen him, and accept the bail

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Plaintiff and Plaintiff left Cumberland County Jail at that time. Detective Jill Potvin worked in

coordination with an unreliable witness who was suffering from severe alcoholism and mental

illness in an effort to remove the Plaintiffs children from his custody as part of an intentional an

malicious plan.

                                              PARTIES

        Plaintiff, Anthony J. Sineni, III, is a natural person, residing in the City of Portland,

        County of Cumberland, and State of Maine, with an address of 701 Congress Street,

        Portland, Maine 04101.

 2.     Defendant Cumberland County Sheriffs Department is a Department within the County

        of Cumberland, and subject to oversight by the Cumberland County Commissioners.

        Jill Potvin is a Detective for the Cumberland County Sheriffs Office and a Deputy and/or

        Detective in 2014 and was directly responsible for the false imprisonment of Plaintiff.

 4.     John Fournier is a Detective for the Cumberland County Sheriffs Office and a Deputy

        and/or Detective in 2014 and w as directly responsible for the false imp ri sonment of

        Plaintiff the malicious prosecution of the Plaintiff and the violation of the Plaintiffs civil

        rights.




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        Defendant, Cumberland County Sheriffs Department is responsible for the actions of its

        employees when working to further their employer's needs, and while working within the

        scope of their employment. When an employee commits a civil wrong against a third

        party, the employer is liable for the acts of the employee when those acts are committed

        within the scope of the relationship.

                                          ALEEGTTQNS



                                                Count 1
                                         Malicious Prosecution

6.       Plaintiff, Anthony J. Sineni, III, re-states and re-alleges the facts in paragraphs 1-5 above

         as if fully set forth herein.

7.       On or around September 26, 2014, Defendants falsely obtained a search and arrest

         warrant for Plaintiff, based on intentional omissions, misstatements of material facts, and

         malicious allegations.

8.       On or around September 27, 2014, Defendant John Fournier obtained an arrest warrant

         and arrested Plaintiff with the arrest warrant obtained through intentional and or reckless

         omissions of fact.

9.       Plaintiff was transported and held at Cumberland County Jail due to the maliciously and

         or recklessly obtained arrest warrant.

10.      The Cumberland County Sheriffs Department continued to prosecute allegations,

         launched against Plaintiff.

11.      The Cumberland County Sheriffs Department utilized in most part, the information

         provided by the Plaintiff's severely alcoholic, mentally ill, ex-girlfriend who was known

         to provide false information to the Cumberland County Sheriff's Department.
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12.    The Cumberland County Sheriffs Department instituted the criminal investigation and

       continued to seek the filing of a criminal complaint against Plaintiff based on false

       allegations and with no evidence to sustain the allegations.

13.    The Cumberland County Sheriffs Department lacked probable cause to secure the search

       and arrest warrants, as both were secured without sufficient justification.

       The search an arres warrants were procured by passion, preju dice, and bias against

       Plaintiff.

15.    The Defendants brought the criminal investigation and continued their investigation

       against Plaintiff with no probable cause, all in an effort to take his children away from

       him, his home away from him, for the benefit of his ex-girlfriend, due to law

       enforcement's bias of Plaintiff, who is a well-known defense attorney.

16.    The Defendants did not have any evidence that would substantiate their belief that

       Plaintiff was guilty of any charges.

17.    The charges against Plaintiff were eventually dismissed.



                                               Count 2
                                        False Imprisonment


 18.    Plaintiff, Anthony J. Sineni, III, re-states and re-alleges the facts in paragraphs 1-17

        above as if fully set forth herein.

 19.    On or about September 27, 2016, Defendants arrested Plaintiff based upon a falsely

        obtained arrest warrant.




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20.   Detective John Fournier of the Cumberland County Sheriffs Department placed Plaintiff

      under arrest due to a warrant that was secured by Department personnel which provided

      intentionally and recklessly false and misleading information.

21.   Once Plaintiff was arrested he was transported to Cumberland County Jail, where he was

      confined therein.

22.   After Plaintiff was booked a bail commissioner arrived at the Jail, to screen the newest

      arrivals and to process the paperwork and take into the State's possession the

      predetermined amount of bail for the Plaintiff.

23.   An individual had been waiting for hours at the jail to post the bail for the Plaintiff.

24.   Detective Jill Potvin of the Cumberland County Sheriffs Department was on the phone,

      with the front desk personnel, and ordered that the Bail Commissioner be turned away

      and not allowed to accept Plaintiffs bail funds at that time.

25.   Plaintiff was confined due to Jill Potvin's actions within the boundaries of the Jail.

26.   Detective Potvin had the Commissioner turned away to enable her to continue to ask

      questions of the Plaintiff.

27.   Due to Detective Potvin's actions the Commissioner was not allowed to screen Plaintiff,

      and he was held in Cumberland County Jail for an extra six to eight hours, waiting on the

      bail commissioner to return to screen him, and accept the bail amount.

28.   Once the bail commissioner returned, the commissioner accepted the funds on Plaintiff

      and Plaintiff left Cumberland County Jail at that time.




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                                             Count 3
                                      Violation of Civil Rights

29.   PIaintiff, Anthony J. Sineni, III, re-states and re-alleges the facts in paragraphs 1-28

      above as if fully set forth herein.

30.   Detective Jill Potvin, as a Law Enforcement Officer for the County of Cumberland,

      violated Plaintiffs civil rights when she used the power of law enforcement action,

      against the Plaintiff to aid a third party that was known to be violating a Protection of

      Abuse -Order, and was known to be a severe alcoholic, who was mentally ill, and who had

      also been known to provide false information to the Cumberland County Sheriffs

      Department.

31.   Detective Jill Potvin, as a Law Enforcement Officer for the County of Cumberland,

      violated Plaintiff's civil rights when she attempted to remove Plaintiff's two minor

      children from his care. Therefore violating his Constitutional right to access his children

      and decide how to raise his children.

32.   Detective Jill Potvin had no justification for her actions, when she infringed upon

      Plaintiffs Constitutional Right, to direct the raising and upbringing of his own children.




                                      PRAYER FOR RELIEF


      WHEREFORE, The Plaintiff requests that the Court:

      A. Plaintiff is requesting a Jury Trial.

      B. Issue a judgment declaring that the actions of the Defendants as described in this

          complaint are unlawful and constitute an illegal search and seizure of the Plaintiff in




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         violation of the Fourth Amendment of the Constitution, Article One, Section Six-A of

         the Maine Constitution and 42 U.S.C. § 1983.

      C. Award the Plaintiff compensatory damages for past and future damages including

          economic loss, emotional and psychological harm in an amount determined to be

          reasonable.

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      E. Award Plaintiff reasonable attorney's fees and costs.

      F. Grant any further relief as the Court considers just and proper.




Dated September 27, 2016                            Respectfully Submitted,


                                                    Anthony J. Sine         I, Esq. ( 418)
                                                    701 Congress St.
                                                    Portland, Maine 04102
                                                    (207) 772-9053
